                                                                                                        Case 1:10-cr-00080-DAD-BAM Document 119 Filed 01/11/13 Page 1 of 2


                                                                                                         PETER S. CHRISTIANSEN, ESQ.
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                                                                                                         Nevada Bar No.: 005254
                                                                                                    2    CHRISTIANSEN LAW OFFICES
                                                                                                         9910 West Cheyenne Avenue, Suite 110
                                                                                                    3    Las Vegas, Nevada 89129
                                                                                                         Telephone: (702) 240-7979
                                                                                                    4
                                                                                                         Attorney for Defendant Wayne Matthew Harriman
                                                                                                    5
                                                                                                                                 IN THE UNITED STATES DISTRICT COURT
                                                                                                    6
                                                                                                    7                         FOR THE EASTERN DISTRICT OF CALIFORNIA

                                                                                                    8
                                                                                                                                                        ) No. 1:10-cr-0080 AWI
                                                                                                    9    UNITED STATES OF AMERICA,                      )
CHRISTIANSEN LAW OFFICES




                                                                                                                                                        )
                                                                                             10                           Plaintiff,                    ) STIPULATION TO MODIFY PROBATION
                                                                                                                                                        ) TERMS AND CONDITIONS
                           9910 West Cheyenne Avenue, Suite 110




                                                                                             11          v.                                             )
                                                                  702-240-7979 • Fax 702-658-3848




                                                                                                                                                        )
                                                                                                         WAYNE MATTHEW HARRIMAN,
                                 Las Vegas, Nevada 89129




                                                                                             12                                                         )
                                                                                                                                                        )
                                                                                             13                          Defendant.                     )
                                                                                             14
                                                                                             15                 IT IS HEREBY STIPULATED by and between the United States of America, by and

                                                                                             16          through Laurel J. Montoya, Assistant United States Attorney, and Defendant, Wayne Matthew

                                                                                             17          Harriman, by and through his attorney, Peter S. Christiansen of Christiansen Law Offices, that

                                                                                             18          the current terms and conditions of Defendant Harriman’s probation sentence be modified to

                                                                                             19          permit Defendant to travel to California without obtaining prior permission from his probation

                                                                                             20          officer because of his employment travel requirements. AUSA Laurel Montoya and Defendant

                                                                                             21          Harriman’s probation officer have no objection to this modification. All other conditions of

                                                                                             22          Defendant Harriman’s probation will remain in effect throughout the remainder of his probation

                                                                                             23          sentence.

                                                                                             24                 DATED this 10th day of January, 2013.
                                                                                                         BENJAMIN B. WAGNER                                   CHRISTIANSEN LAW OFFICES
                                                                                             25          United States Attorney
                                                                                             26
                                                                                                                /S/                                                 /S/
                                                                                             27          LAUREL J. MONTOYA                                    PETER S. CHRISTIANSEN, ESQ.
                                                                                                         Assistant United States Attorney                     Counsel for Defendant Harriman
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                                                                                                    2                                               ORDER
                                                                                                    3             IT IS HEREBY ORDERED that Defendant Harriman is permitted to travel to California
                                                                                                    4    without obtaining prior permission from his probation officer because of his employment travel
                                                                                                    5    requirements. All other conditions of Defendant Harriman’s probation will remain in effect
                                                                                                    6    throughout the remainder of his probation sentence.
                                                                                                    7
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                                                                                                    9
CHRISTIANSEN LAW OFFICES




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                           9910 West Cheyenne Avenue, Suite 110




                                                                                                         IT IS SO ORDERED.
                                                                                             11
                                                                  702-240-7979 • Fax 702-658-3848




                                                                                                         Dated:    January 11, 2013
                                 Las Vegas, Nevada 89129




                                                                                             12
                                                                                                                                                 UNITED STATES DISTRICT JUDGE
                                                                                             13
                                                                                                                                                       DEAC_Signature-END:




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